Case 01-01139-AMC                Doc 22814-9                Filed 08/14/09           Page 1 of 10




                                                                                    PAGE




                     IN   THE    DISTRICT          COURT    OF THE      NINETEENTH


                JUDICIAL         DISTRICT          FOR    THE   STATE     OF MONTANA


                          IN    AND    FOR    THE    COUNTY      OF LINCOLN


        CAUSE    NO DV97S0

        ROBERT          GRAHAM AND CAROL
        GRAHAM        HUSBAND AND WIFE


                          PLAINTIFFS


                VS

                GRACE           CO         CONN
        CONNECTICUT            CORPORATION           AND
        DOES IFL
   10
                          DEFENDANTS
   11


   12


   13
                                           VIDEO    DEPOSITION
   14
                                                     OF
   15
                                           ROBERT          GRAHAM
   16
                               ON     BEHALF       OF THE       PLAINTIFF
   17


   18


   19
                      HELD      AT    THE    LINCOLN   COUNTY COURTHOUSE
   20                                 512    CALIFORNIA   AVENUE
                                            LIBBY MONTANA
   21                            FRIDAY           SEPTEMBER             1997
                                                  855     AM
   22


   23


   24

           REPORTED   BY DEBRA                      HDMAN         RPR     RNR AND    NOTARY
   25      PUBLIC   FOR THE STATE                   OF    MONTANA        FLATHEAD    COUNTY



                HEDMAN          ASA         GILMAN       REPORTING             7525751
                                     BOX    394          KALISPELL        MONTANA
Case 01-01139-AMC                     Doc 22814-9                         Filed 08/14/09               Page 2 of 10




                                                                                                  PAGE




                           OH        GEE       JUST        IN       AND    OUT      LIKE        FOR    TWO


        WEEKS       AND    HED        BE    HOME          FOR         MONTH          AND    HE             THEY


        GAVE    HIM       PENICILLIN            AND        THIS       PROVED        TO    WORK    AGAINST

        HIM    BECAUSE          IT    BTIILT         UP    IN       HIS    BODY     AND    HE    HAD       NO

        ANTI          NO    ANTI       BODIES             TO    FIGHT        THE    DISEASES               SO HE


        WAS    IN    AND OUT          OF    THE       HOSPITAL                AND    WE    HAD    HIM       IN


        BETTY       BACHARACH          HOME          AT    THE                DONT        RECALL       THE


        PLACE        BUT    IT       WAS


                           WELL        ANYWAY              SO       THINGS     WORKED       OUT       IN


   10   MONTANA       PRETTY          WELL

   11                      YES

   12                      AND       HAVE      YOU        BEEN       IN    LIBBY     EVER       SINCE

   13                      YES        WE    HAVE

   14                      HOW       LONG      DID        YOU       WORK     FOR    WR      GRACE

   15                      TWENTYSEVEN                    AND         HALF     YEARS

   16                      SO    THATS          1962           UP    TO    WHAT     YEAR

   17                      1990

   18                      AND       ARE    YOU       MARRIED

   19                      YES             AM

   20                      WHO       TO

   21                      CAROL

   22                      HOW       LONG

   23                      FORTYFOUR              YEARS

   24                      AND       DO YOU HAVE                CHILDREN


   25                      YES        FIVE



                HEDMAN           ASA           GILMAN           REPORTING                  7525751
                                    BOX        394              KALISPELL            MONTANA
Case 01-01139-AMC             Doc 22814-9                  Filed 08/14/09                  Page 3 of 10




                                                                                          PAGE    10




        SHOP        SOMETIMES        THEY     REPAIR       ROLLOVERS               OR ABOUT


        YEAR   AND      HALF       AGO THEY         BUILT            FIRE        ENGINE         THAT


        TYPE   OF    WORK       ITS        MOSTLY        ALUMINUM


                       AND    KIM      WHERE        DOES       SHE    LIVE

                       SHE    LIVES        WITH     US    AT    OUR HOME


                       UHHUH           AND     IS    SHE       EMPLOYED

                       NO     SHE      ISNT

                       DOES     SHE    HAVE          CHEMICAL          IMBALANCE           OR


        SOMETHING

   10                  YES      SHE     DOES

   11                  THEN     THIS       JUNE      DID       YOU MAKE          A TRIP     TO


   12   MISSOURI

   13                  YES      WE     DID

   14                  WHY    WAS      THAT

   15                  TO VISIT         OUR KIDS               IT    WAS     SORT    OF



   16   FAMILY      REUNION


   17                  AND    AT     THAT     TIME       HAD YOU       BEEN        DIAGNOSED

   18   WITH        DISEASE

   19                  YES           HAD    BEEN     DIAGNOSED              IN    MARCH

   20   BELIEVE

   21                  WITH     WHAT

   22                  THAT          HAD    MESOTHELIOMA


   23                  WHATS         YOUR     UNDERSTANDING                 OF    WHAT    THAT


   24   IS

   25                       UNDERSTAND         THAT       ITS           CANCER       RELATED



               HEDMAN        ASA        GILMAN       REPORTING                      7525751
                                BOX     394          KALISPELL               MONTANA
Case 01-01139-AMC                Doc 22814-9                      Filed 08/14/09                  Page 4 of 10




                                                                                             PAGE          11




        OR    AN ASBESTOSRELATED                       CANCER

                          AND    SO    DID       THE        REIINION     HAVE       ANYTHING          TO    DO


        WITH    THE      FACT    THAT       YOU        HAD BEEN         DIAGNOSED

                          WELL        IT    WAS             GOOD TIME         TO    GO AND       THEN


        WASNT        SURE       YOU KNOW               OF    MY TREATMENT            OR WHEN


        WOULD      BE    ABLE    TO    DO       THAT        AGAIN

                          HOW    MANY       OF    THE        KIDS      CAME    TO    THE    REUNION

                          FOUR

                          AND    HOW       MANY        GRANDKIDS         DO YOU HAVE


   10                     THREE

   11                     THREE            HOW    LONG        DID      THE    REUNION       LAST

   12                     WELL        IT    WAS        ONLY     FOR          COUPLE       DAYS        BUT


   13   WE    WERE      THERE    FOR       12    DAYS           AND     WE WENT       TO SILVER


   14   DOLLAR       CITY AND         BRANSON           AND     DIFFERENT           PLACES       WE    LIKE


   15   TO    GO        EVERY    DAY       WE    DID        SOMETHING

   16                     ARE    YOU       ON ANY           MEDICATIONS            RIGHT    NOW

   17                     YES          AM

   18                     CAN    YOU       SAY    WHAT        THEY      ARE

   19                          HAVE         NEBULIZER               WHICH      IS    AMBUTROL

   20   AND


   21                     WHAT    IS       THE    NEBULIZER             FOR

   22                     ITS     TO       OPEN        UP MY     LUNGS        WHEN         START


   23   WHEEZING         AND    WHEN            HAVE        TROUBLE      GETTING          MY BREATH

   24                     OKAY

   25                     AND         HAVE       THESE         LITTLE              THEY    CALL       THEM



                HEDMAN          ABA         GILMAN           REPORTING                7525751
                                  BOX       394              KALISPELL             MONTANA
Case 01-01139-AMC                      Doc 22814-9                     Filed 08/14/09                      Page 5 of 10




                                                                                                          PAGE        13




         SHOWED        THAT       CANCER        WAS        STARTING          TO    MOVE RAPIDLY                   AND


         IT    WAS     AFTER       THAT        THAT


                             SO WHEN           DID     YOU HAVE             YOUR       FIRST


         CHEMOTHERAPY

                             JULY       8TH            BELIEVE

                             THIS       YEAR          97
                             YES

                             BEFORE          YOU HAD         THE       CHEMOTHERAPY                   DID        YOU

         DISCUSS           THE    RISKS        WITH          DOCTOR

    10                       YES             DID

    11                       WHICH        DOCTOR           WAS    THAT

    12                       DR        NICHOLS

    13                       WHERE        IS    HE

    14                       MISSOULA


    15                       WHATS           YOUR UNDERSTANDING                        OF    THE      RISKS           OF


    16   CHEMOTHERAPY

    17                                  MR      GRAHAM                OBJECTION              SEEKS         HEARSAY

   18    TESTIMONY                GO AHEAD


    19                                  THE     DEPONENT                THERE          ARE      SOME       RISKS


   20    WITH               MEDICATION                BUT    THE       RISK       IS     LESS        THAN        THE
                     ANY

   21    POSSIBILITY              OF    HELP           AND       HE    DID    SAY        THAT        IT    WAANT

   22         SURE     THING           HUT     IT     WAS    THE       BEST       THING         AT    THE


   23    TIME          BECAUSE          IHAD BEEN                ADVISED          THAT       RADIATION


   24    DUE    TO     THE       PROXIMITY            OF    THE       CANCER       IN       RELATION             TO    MY

   25    HEART         WOULD       COOK        MY HEART                IF    THEY        GAVE        ME ENOUGH



                 HEDMAN            ASA          OILMAN           REPORTING                      7525751
                                        BOX     394              KALISPELL               MONTANA
Case 01-01139-AMC                     Doc 22814-9                      Filed 08/14/09                 Page 6 of 10




                                                                                                    PAGE        14




        TO DO ANY             GOOD         IT    WOULD       COOK MY HEART                    AND     WITHOUT


        ENOUGH           IT    WOULDNT            HELP

                              AND    THEN            WAS     ADVISED          BY   DR       GOODMAN         IN


        KALISPELL             THAT       THE     REGULAR          CHEMO HAD               BAD    TRACK


        RECORD            IT       WOULDNT           WORK             AND    AFTER     THAT      IS    WHEN


        WENT       TO    DR NICHOLS

        BY    MR        HEBERLING


                              WHAT       KIND     OF     DOCTOR         IS    DR NICHOLS

                              HES        AN     ONCOLOGIST

   10                         IS    THAT          CANCER          DOCTOR

   11                         YES

   12                         WHATS           YOUR     UNDERSTANDING                 ABOUT      WHETHER          OR


   13   NOT    THERE          IS    ANY       CURE     FOR       MESOTHELIOMA


   14                                    MR      GRAHAM               OBJECTION           CALLS       FOR


   15   HEARSAY          ANSWER

   16                                    THE     DEPONENT               HE    ADVISED         ME THAT


   17   THERE       IS    NO       CURE          THAT       IT    CAN BE       SLOWED DOWN                 BUT


   18   SO    FAR       THERE       IS     NO CURE


   19   BY    MR        HEBERLING

   20                         SO    AFTER        THE       FIRST CHEMOTHERAPY                   TREATMENT

   21   DID    YOU       HAVE            BLOOD       TEST

   22                         YES        TWO     WEEKS       LATER            THAT     WAS      DONE       AT


   23   THE                                      AND       THE    RESULTS          WERE     FAXED      IN       TO
               LIBBY          HOSPITAL

   24   DR     NICHOLS               THEN         PRIOR          TO    THE    NEXT     CHEMOTHERAPY

   25        HAD    ANOTHER          BLOOD        TEST       AND       AN    XRAY      TO     SEE     WHAT



                   HEDMAN           ASA          GILMPN          REPORTING                  7525751
                                      BOX        394             KALISPELL            MONTANA
Case 01-01139-AMC                    Doc 22814-9                  Filed 08/14/09                     Page 7 of 10




                                                                                                   PAGE     69




        THATS        THE       ORE BINS             AND       THERE     IS               ITS        PART        OF


        THE     MOUNTAIN         THAT        GOES       UP      WELL         WHEN       IT    WENT       INTO


        THE     MOUNTAIN             THEN     IT    JUST       SORT     OF    TURNED          AND


        SWIRLED          AROUND

                           THEDUST

                           YEAH

                           COULD       YOU        SEE    DUST    COMING           OUT    THE       END     OF


        THE     HORIZONTAL            STACK

                           OH        YEAH          YEAH         THEN     AFTER                GUESS

   10   FOUR        FIVE YEARS               THEY       PUT    ON THIS        STACK


   11   INDICATING                    AND     ITS              PUSHED        THE       AIR    STRAIGHT


   12   IN    THE    AIR         IF    THERE        WAS       NO WIND        AT    ALL        IL    WOULD


   13   GO    STRAIGHT          UP    FOR          WAYS AND           JUST    MUSHROOM             OUT     AND


   14   IT    WOULD       LOOK       LIKE          BLAST       FROM AN        ATOMIC          BOUTH


   15                      AND       AFTER        THE    STACK           THE VERTICAL                 STACK


   16   WAS    ADDED           DID    YOU     HAVE       LESS    DUST        IN    THE       AREA     OF    THE


   17   GARAGE

   18                      YES

   19                      DID       YOU     STILL       HAVE    DUST        FROM THE          DRY       MILL


   20   IN    THE    AREA       OF    THE     GARAGE

   21                      WELL        YEAH         IT    WOULD              IT    WOULD       COME

   22   DOWN        BUT    IT    WASNT         ANYTHING           LIKE       IT    WAS       BEFORE


   23   WHERE       IT    WAS    JUST         YOU KNOW           PLUMES           OF    DUST

   24                      OKAY            THEN     IN    THE     GOS         DID       YOU EVER

   25   DISCUSS          THE    DUST       WITH     MINE       SUPERINTENDENT                 ORVILLE



                 HEDMPN          ASA          GILMM           REPO1TING                  7525751
                                    BOX       394             KALISPELL            MONTPNA
Case 01-01139-AMC                  Doc 22814-9                Filed 08/14/09                     Page 8 of 10




                                                                                            PAGE       70




        THORN

                             DONT        THINK         EVER       DID     DISCUSS          DUST     WITH


        HITS


                          DID     YOU    EVER    DISCUSS          THE     DUST    WITH       EARL


        LOVICK

                          NO

                          DID     THE    COMPANY       EVER       TELL        YOU IT       WAS     JUST


        NUISANCE         DUST

                          THATS         WHAT    KUJAWA       TOLD       ME

   10                     OKAY          NOW     WHO    WAS     MR        KUJAWA

   11                        BELIEVE       HE WAS       SECOND           IN    COMMAND       AT     THE


   12   MINE

   13                     AND     WHAT    WAS    HIS     FIELD      OF        EXPERTISE

   14                     WELL      HE    WAS         GEOLOGIST

   15                     DID     YOU HAVE            PARTICULAR              CONVERSATION


   16   WITH       HIM

   17                     WELL           WAS    IN    THE    WAREHOUSE                HE    WAS


   18   VERY       SOCIABLE       PERSON              WAS    IN    THE        WAREHOUSE          AND


   19   THINK       IT   MIGHT     HAVE    BEEN         DUSTY       DAY        WHEN    THERE        WAS


  20         LOT    OF   DUST     AROUND              MENTIONED           SOMETHING          ABOUT


  21    IT     BEING     VERY     DUSTY         AND    HE    TOLD        ME THAT           ITS      JUST


  22    NUISANCE         DUST       WONT        HARM    YOU         HE        SAID     YOU       COULD


  23    EAT         TON OF       THIS    AND    IT    WOULDNT            HURT    YOU

  24                      CAN     YOU    SAY    WHEN    THIS       CONVERSATION


  25    OCCURRED           WHAT     DECADE       ANYWAY


                   HEDMPN       ASA       GILMAN       REPORTING                  7525751
                                  BOX     394          KALISPELL               MONTANA
Case 01-01139-AMC               Doc 22814-9                      Filed 08/14/09                Page 9 of 10




                                                                                             PAGE    71




    1                        THINK       POSSIBLY          THE       LATE       GOS      MAYBE


        EARLY        70S      SOMETIME          IN    THERE


                        IS    THAT       PROBABLY          WHEN       IT    WAS

                             THINK       IT    WAS

                        AND    WHY       WERE       YOU IN       THE       WAREHOUSE

                        THE    WAREHOUSE             IS    WHERE          YOU OBTAIN         PARTS


        FOR     ANYTHING           OR    IF    YOU NEEDED                  PAIR    OF    GLOVES       OR


             FLASHLIGHT

                        DID    YOU GO THERE                TO    MEET       MR     KUJAWA

   10                   NO     HE       JUST    HAPPENED             TO    BE   THERE

   11                              MR     HEBERLING                  WETRE      OUT     OF   TAPE       SO


   12   WE    WILL    STOP    ARID      CHANGE       TAPES

   13                              THE    VIDEOGRAPHER                     THIS    WILL      BE   THE


   14   END    OF    TAPE    NUMBER


   15                         RECESS          WAS    HELD       IN    THE       PROCEEDINGS

   16                              MR     HEBERLING                  WERE       BACK     ON THE


   17   RECORD

   18


   19                                EXAMINATION            CONTINUED


   20   BY    MR     HEBERLING

   21                   DID    YOU       EVER       DISCUSS          THE    DUST      WITH     WALT


   22   BAKER

   23                        HAD         SHORT       CONVERSATION                WITH    HIM      ONE


   24   TIME

   25                   WHAT       POSITION          WAS    HE       IN


                 HEDMAN       ASA         GILMPN          REPORTING                     7525751
                                BOX       394             KALISPELLI             MONTANA
Case 01-01139-AMC                   Doc 22814-9                        Filed 08/14/09                     Page 10 of 10




                                                                                                       PAGE      72




                             HE    WAS        FOREMAN       IN THE          WET     MILL

                             AND       WHEN     DID       THIS     CONVERSATION                 TAKE


         PLACE          WHAT       DECADE            ANYWAY

                                  THINK        IT    WAS    LATE        60C

                             AND       WHAT     HAPPENED

                                  WAS     TALKING          ABOUT        ALL       THIS       DUST      AROUND


         AND     HE    TOLD       ME     IT    WAS    JUST        NUISANCE             DUST          IT    WASNT

         DANGEROUS


                             ANYTHING           ELSE       YOU     RECALL          ABOUT        THAT

    10   CONVERSATION


    11                       NO               ONLY    TALKED           TO    WALT         YOU    KNOW           JUST


    12   SORT     OF    PASSING               FEW WORDS           HERE        HI         HOW    ARE       YOU

    13   AND     SO    ON

    14                       DID       YOU CVER           DISCUSS           THE    DUST        WITH       PLANT


    15   MANAGER        BOB       OLIVRIO            IN    THE         70S

    16                            THINK             TALKED        TO    HIM       SOME          HE     TOLD        ME


    17   THAT     THATS           THE     REASON          THEY     WERE       GETTING           THE       NEW


    18   MILL     IN        WAS    TO     ALLEVIATE              THE    DUST             BUT     THAT       WAS


    19   ABOUT        THE    CONVERSATION                         TALKED          TO     HIM    ABOUT       OTHER


    20   THINGS         BUT        YOU        KNOW        REGARDING           DUST              NEVER       DID

    21                       WAS        THERE         TIME        IN    THE       GARAGE               LETS

    22   SEE          STRIKE       THAT

    23                       WHO       WAS     THE    SUPERVISOR              IN       THE     GARAGE         IN


    24   THE     70S
    25                       LLOYD        FISCUS



                  HEDMAN           ASA          GILMAN           REPORTING                     7525751
                                     BOX        394              KALISPELL               MONTANA
